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ATTORNEYS AT LAW

WALNUT CREEK, CA

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Case 4:22-cv-04664-KAW Document 8

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HORACE W. GREEN

Filed 08/26/22 Page 1 of 2

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

HORACE W. GREEN,

Plaintiff,
V.
SEYFARTH SHAW LLP RETIREMENT
PLAN FOR PARTNERS; SEYFARTH
SHAW LLP 401(K) SAVINGS AND
RETIREMENT PLAN,

Defendants.

 

 

 

 

Case No. 4:22-cv-04664 KAW

PLAINTIFE’S NOTICE OF VOLUNTARY
DISMISSAL PURSUANT TO FEDERAL
RULE OF CIVIL PROCEDURE 41(a)(1)

TO ALL PARTIES AND COUNSEL OF RECORD:

PLEASE TAKE NOTICE that Plaintiff Horace W. Green, pursuant to Rule 41

(a)(1)(A)(i), hereby voluntarily dismisses this action, with prejudice, as against all Defendants

herein.

 

NOTICE OF VOLUNTARY DISMISSAL

 
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Case 4:22-cv-04664-KAW Document 8 Filed 08/26/22 Page 2 of 2

Dated: August 26, 2022 BROTHERS SMITH Lip

By: —Frazeeco7-————_
Horace W. Green”
Attorneys for Plaintiff
HORACE W. GREEN

 

NOTICE OF VOLUNTARY DISMISSAL

 
